Case 1:21-cv-03232-JPB Document 1-1 Filed 08/09/21 Page 1 of 48




         Exhibit A
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                                                  2020CV02308                               e-Filed 10/27/2020 2:31 PM




                                                                                                           Tiki Brown
                                                                                                  Clerk of State Court
                                                                                             Clayton County, Georgia
                                                                                                       Rachel Jeffers




                                                                              2020CV02308




                                         10/27/2020




                                                                 Rachel Jeffers




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                                                  2020CV02308                               e-Filed 10/27/2020 2:31 PM




                                                                                                           Tiki Brown
                                                                                                  Clerk of State Court
                                                                                             Clayton County, Georgia
                                                                                                       Rachel Jeffers




                                                                          2020CV02308




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                        Case 1:21-cv-03232-JPB Document   1-1 Filed 08/09/21 Page 4 of 48
                                                  2020CV02308




                                                                 3.

                        Pursuant to O.C.G.A. § 14-2-510(b)(4), because the event causing Ms. Adams’s injury

             occurred at Defendant's retail store located in Clayton County, Georgia, jurisdiction and venue

             are proper as to this Defendant in this Honorable Court.

                                                  FACTUAL BACKGROUND

                                                                4.

                       Ms. Adams repeats, realleges, and reavers each and every allegation contained in

             paragraphs one (1) through three (3) by reference as if fully and completely set forth herein

             verbatim.

                                                                5.

                       Defendant has a location and transacts business at the Family Dollar store located at 798

             Morrow Road, Forest Park. Georgia 30297.

                                                                6.

                       On or about February 5, 2019, Ms. Adams was shopping at Defendant's place of

             business, the Family Dollar store located at 798 Morrow Road, Forest Park, Georgia 30297.

                                                                7.

                       As Ms. Adams was shopping, suddenly and unexpectedly, she slipped and fell on hair

             that was present on the floor in an aisle of the Family Dollar store.

                                                                8.

                       Ms. Adams's fall was the direct result of the hair that was present on the floor in an aisle

            of the Family Dollar store, and this foreign substance           constituted a dangerous condition,


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                                                  2020CV02308




             therefore making Defendant's premises unreasonably unsafe.

                                                               9.


                       Defendant was negligent for failing to keep and maintain their premises in a safe

             condition.

                                                              10.


                       As a direct and proximate result of Defendant's negligence, Ms. Adams suffered personal

             injuries that required medical attention.

                                                              11.


                       Defendant had actual and/or constructive knowledge of the dangerous condition on the

             premises, which was superior to the knowledge Ms. Adams had of said condition.

                                                              12.


                       Defendant failed to adequately warn Ms. Adams of the dangerous condition on its

             property.

                                                              13.


                       At all times relative to this incident, Ms. Adams was exercising due care for her own

             safety.

                                                   CLAIMS AGAINST DEFENDANT

                                                              14.


                       Ms. Adams repeats, realleges, and reavers each and every allegation contained in

             paragraphs one (1) through thirteen (13) by reference as if fully and completely set forth herein



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Copy from re:SearchGA
                        Case 1:21-cv-03232-JPB Document   1-1 Filed 08/09/21 Page 6 of 48
                                                  2020CV02308




             verbatim.

                                                                 15.

                        Defendant was negligent for failing to keep its premises safe in violation of O.C.G.A. §

             51-3-1, by among other things, maintaining the premises in an unsafe manner and failing to

             remove dangers and objects on its premises.

                                                                 16.

                        Defendant was negligent for failing to adequately warn of the dangerous condition on its

             premises in violation of O.C.G.A. §51-3-1.

                                                                 17.

                       Defendant's negligence was the proximate cause of Ms. Adams’ injuries.

                                                                18.

                       As a direct and proximate result of Defendant's negligence, Ms. Adams sustained severe

             injuries that required extensive medical treatment.

                                                                19.

                       As a direct and proximate result of Defendant's negligence, Ms. Adams endured physical.

             mental, and emotional pain and suffering due to the injuries she sustained in the fall.

                                                                20.


                       As a direct and proximate result of Defendant's negligence, Ms. Adams has, to date.

             incurred special damages in the form of medical expenses totaling approximately $9,395.52 due

             to the injuries she sustained in the slip and fall incident.


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                        Case 1:21-cv-03232-JPB Document   1-1 Filed 08/09/21 Page 7 of 48
                                                  2020CV02308




                                                                21.

                        Ms. Adams is entitled to recover from Defendant as special damages compensation for

             her medical expenses and lost wages to the extent permitted by law and in an amount to be

             proven at trial.

                                                                22.


                       Ms. Adams is entitled to recover for past, present, and future pain and suffering, both

             physical and mental. Plaintiff also seeks general damages due to Defendant's negligence.

                                                                23.


                       Defendant's actions in this matter constitute bad faith, stubborn litigiousness, or

             unreasonable and unnecessary delay so as to entitle Ms. Adams to reasonable and necessary

             attorney fees in an amount to be proven at trial pursuant to O.C.G.A.§ 13-6-11.

                                                                24.


                       Defendant’s actions, inactions, and conduct in this matter, including, but not limited to.

             having notice that its habitual practice of leaving slippery substances on the floor and failing to

             keep and maintain their premises in a safe condition created a particular condition, which it knew

             to be hazardous to invitees and which it knew had actually injured invitees in the past, show, by

             clear and convincing evidence, willful misconduct, malice, fraud, wantonness, oppression, or

             that entire want of care which would raise the presumption of conscious indifference to

             consequences and support an award of punitive damages under O.C.G.A. § 51-12-5.1(b).

                       WHEREFORE, Ms. Adams prays for the following relief:

                      (a)        that summons issue and Defendant be served as required by law;



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                                                  2020CV02308




                      (b)       that Ms. Adams receive a trial by jury;

                      (c)       that Ms. Adams recover an amount sufficient to compensate her for special

             damages for her medical expenses and lost wages in an amount to be proven at trial and to the

             extent permitted by law;

                      (d)       that Ms. Adams recover general damages for her past, present and future pain and

             suffering in an amount to be determined by a fair and impartial jury;

                      (e)       that Ms. Adams have and recover expenses of this litigation, including reasonable

             and necessary attorney fees in an amount to be proven at trial pursuant to O.C.G.A.§ 13-6-11;

                       (0        that Ms. Adams have and recover punitive damages in an amount to be proven at

             trial pursuant to O.C.G.A. § 51-12-5.1(b);


                       (g)       that all costs of this proceeding be assessed against Defendant; and


                       (g)       that Ms. Adams receive such further relief as this Court deems just and proper.

                       This 27th day of October, 2020.

                                                                           LAW OFFICES OF EVAN R.
                                                                           MERMELSTEIN, LLC

                                                                           s/ Evan R. Mermelstein

                                                                           EVAN R. MERMELSTEIN
                                                                           Georgia Bar No. 502567
                                                                           Attorney for Plaintiff

             5665 Atlanta Highway, Suite 103-302
             Alpharetta, Georgia 30004
             (678) 697-9578
             evan ^7 mennelsteinlaw.com



                                                   [Signatures continued on following page)


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                                                  2020CV02308




                                                             JOEL M. BASKIN, P.C.

                                                             s/ Joel M. Baskin

                                                             JOEL M. BASKIN (by Evan R. Mermelstein with
                                                                              express permission)
                                                             Georgia Bar No. 041055
                                                             Attorney for Plaintiff
             2791 Main Street
             East Point, GA 30344
             Email: ibaskinonoelbaskin.com
             Phone: (404) 765-0031
             Fax: (404) 765-0519




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                                                                                                             Tiki Brown
                                                                                                    Clerk of State Court
                                                                                               Clayton County, Georgia
                                                                                                         Rachel Jeffers



                            10/27/2020                            2020CV02308




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                                                                                                                        JWG / ALL
                                                                                                     Transmittal Number: 22343862
Notice of Service of Process                                                                            Date Processed: 11/24/2020

Primary Contact:           Cynthia Bertucci
                           Dollar Tree, Inc.
                           500 Volvo Pkwy
                           Chesapeake, VA 23320-1604

Electronic copy provided to:                   Heather Hunter
                                               JJ Jacobson-Allen

Entity:                                       Family Dollar Stores of Georgia, LLC
                                              Entity ID Number 3697582
Entity Served:                                Family Dollar Stores of Georgia, Inc.
Title of Action:                              Jeannette Adams vs. Family Dollar Stores of Georgia, Inc.
Matter Name/ID:                               Jeannette Adams vs. Family Dollar Stores of Georgia, Inc. (10686769)
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Personal Injury
Court/Agency:                                 Clayton County State Court, GA
Case/Reference No:                            2020CV02308
Jurisdiction Served:                          Georgia
Date Served on CSC:                           11/24/2020
Answer or Appearance Due:                     30 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Evan R. Mermelstein
                                              678-697-9578

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
       Case 1:21-cv-03232-JPB Document 1-1 Filed 08/09/21 Page 12 of 48
                                              2020CV02308                                     e-Filed 10/27/2020 2:31 PM

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t                                                                                                           Tiki Brown
1                                                                                                  Clerk of State Court
`                                                                                              Clayton
                                                                                                       CVac15~l3yes


;      IN TIiE                 STATE COURT OF                  ~l                     COUNTY
4
{                                      STATE OF GEORGiA
I
~                                                                   CIVIL ACTION
;                                                                                  2020CV02308
     6-eao o.e-~k-       /Vot     s                                 NUMBER
~



,
l                                         PLA{NTIFF
;                                Vs.

`~      ~t r' ~y    ~ l ~Q ~     ~-~s ~
                                                           ~


~           1AC •




                                            DEFENDANT

                                              SUMMONS

     TO THE ABOVE NAMED DEFENDANT:

           You are hereby summoned and required to file with the Clerk of said court and
     serve upon the Plaintiffs attorney, whose name and .address is:
                                                  ~t ~/w~C
                                       c~       u~ ~   e "iA ~
                                                     - _

     an answer to the complaint which is herewith served upl you, within 30 days after
     service of this summons upon you, exclusive of the day of service. If you fail to do so,
     judgment by default will be taken against you for the relief demanded in the complaint.
                                 10/27/2020
     This           day of


                                                Clerk of15uperieq Court/State Court

                                                                     Rachel Jeffers
                                                 :
                                                                                      Deputy Clerk




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                    Case 1:21-cv-03232-JPB Document 1-1 Filed 08/09/21 Page 13 of 48
                                                                  2020CV02308                                                   e-Filed 10/2712020 2:31 PM

                                                                                                                                    C1
                              General Civil and Domestic Relations Case Filing Information Form                                 J        )~~
                                                                                                                                                     Tiki Brown
                                                                                                                                          Clerk   o^staG coua
                                   ❑ Superior or l~] State Court of              l~                   County                     Clayton C
                                                   +'                                                                                           ~acl5~l .~esrs

           For Clerk Use OnOy
                                   10/27/2020                                          2020CV02308
           Date Filed                                                 Case Number
                                MM-DD-YVYY

    la' tiff(s)                                                        Defendant(s)                                             ~
         ~s             e~( U1~=       i✓                              ~~'~llv          flal,'
Last                First              Middle I.   Suffix    Prefix       Last           First           Middle I.     Suffix       Prefix


Last                First              Middle I.   Suffix    Prefix       Last           First             Middle I.   Sufflx       Prefix


Last                First              Middle I.   Suffix    Prefix       Last           First           Middle 1.     Suffix       Prefix


Last                First              Middle I.   Suffix    Prefix       Last           First           Middle I.     Suffix       Prefix


Plaintiff's Attorney         l/"      tL Me_r'rV✓dS"kt"                State Bar Number~         o -2147          Self-Represented ❑

                            Check one case type and one sub-type in the same box (if a sub-type applies):

           General Civil Cases
                                                                                 Domestic Relations Cases
           ❑          Automobile Tort
                                                                                 ❑      Adoption
              ❑       Civil Appeal
                                                                                 ❑      Contempt
              ❑       Contempt/Modification/Other
                                                                                        ❑ Non-payment of child support,
                      Post-Judgment
                                                                                        medical support, or alimony
              ❑       Contract
                                                                                 ❑      Dissolution/Divorce/Sepa rate
          ~           Garnishment
                                                                                        Maintenance/Alimony
                      General Tort
                                                                                 ❑      Family Violence Petition
              ❑       Habeas Corpus
                                                                                 ❑      Modification
              ❑       Injunction/Mandamus/Other Writ
                                                                                        ❑ Custody/Parenting Time/Visitation
              ❑       Landlord/Tenant
                                                                                 ❑      Paternity/Legitimation
              ❑       Medical Malpractice Tort
                                                                                 ❑      Support — IV-D
              ❑       Product Liability Tort
                                                                                 ❑      Support — Private (non-IV-D)
              ❑       Real Property
                                                                                 ❑      Other pomestic Relations
              ❑       Restraining Petition
              ❑       Other General Civil

    ❑         Check if the action is related to another action pending or previously pending in this court involving some or all of
              the same: parties, subject matter, or factual issues. If so, provide a case number for each.


                       Case Number                                     Case Number

~             I hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
              redaction of personal or confidential information in OCGA § 9-11-7.1.

    ❑         Is a foreign language or sign-language interpreter needed in this case? If so, provide the language(s) required.

                                                   Language(s) Required


    ❑         Do you or your client need any disability accommodations? If so, please describe the accommodation request.


                                                                                                                                          Version 1.1.20
         Case 1:21-cv-03232-JPB Document 1-1 Filed 08/09/21 Page 14 of 48
                                                                                           J-11tt: 6A'nu]-K~
                                                                                                         Tiki Brown
                                                                                               Clerk of State Court
                            IN THE STATE COURT OF CLAYTON COUNTY                           Clayton C
                                                                                                     ~aclS~l .~e~9~s
                                       STATE OF GEORGIA

JEANNETTE ADAMS,                                     5
                                                     ~
          Plaintiff,                                 §       CIVIL ACTION
                                                     ~
vs.                                                  §       FILE N0.:2020CV02308
                                                     §
FAMILY DOLLAR STORES OF GEORGIA, §
INC.,                            §
                                                     5
          Defendant.                                 §

                    COMPLAINT FOR PERSONAL INJURIES AND DAMAGES

          COMES NOW, JEANNETTE ADAMS, Plaintiff in the above-referenced matter, and

fles her Coniplaint for Personal Injuries and Damages against Defeiidant as follows:

                                     PARTIES, dURISI)ICTION AND VENUE




          Plaintiff JEANNETTE ADAMS (hereinafter "Ms. Adams") is over the age of inajority

and is a resident citizen of the State of Georgia. Ms. Adams voluntarily avails herself of the

jiirisdiction of this honorable Court.

                                                    2.


          Defendant FAMILY DOLLAR STORES OF GEORGIA, INC. (hereinafter "Defendant"

or "Family Dollar") is a donzestic Corporation registered to do business in the state of Georgia,

engaged in tlie business of owning and operating retail stores. Defendant transacts business in

Forest Park, Clayton County, and can be served through its registered agent for service, Prentice-

Hall Corp System, Inc., 100 Peachtree Street, Atlanta, Futon County, Georgia 30303. Upon

service on Defendant, Defendant will bc subject to the jurisdiction of and venue in this Court.




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         Case 1:21-cv-03232-JPB Document 1-1 Filed 08/09/21 Page 15 of 48
                                               2020CV02308




                                                    ~
                                                    ~.


           Pursuant to O.C.G.A. 5 14-2-510(b)(4), because the event causing Ms. Adanis's injury

occurred at Defendant's retail store located in Clayton County, Georgia, jtu-isdiction and venue

are proper as to this Defendant in this Honot•able Court.


                                      FACTUAL BACKGROUND

                                                    4.


          Ms. Adams repeats, realleges; and reavers each aiid every allegation contained in

paragraphs one (1) through three (3) by reference as if fully and completely set fortli herein

verbatim.

                                                    5.

          Defendant has a location and transacts business at the Family Dollar store loeated at 798

Mon•ow Road, Forest Park, Georgia 30297.

                                                    Al


          On or about February 5, 2019, Ms. Adams was shopping at Defendant's place of

business, the Family Dollar store located at 798 Morrow Road, Forest Park, Georgia 30297.

                                                    7.


          As Ms. Adams was shopping, suddenly and uneYpectedly, she slipped and fell on hair

that was present on tlie floor in an aisle of the Family Dollar store.

                                                    8.

          Ms. Adanis 's fall was the direct result of the hair that was present on the floor in an aisle

of the Family Dollar store, and this foreign substance           constituted a dangerous condition,


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       Case 1:21-cv-03232-JPB Document 1-1 Filed 08/09/21 Page 16 of 48


therefore making Defendant's premises unreasonably unsafe.


                                                 9.


          Defendant was negligent for failing to keep and maintain their premises in a safe

condition.


                                                 10.


          As a direct aiid proximate result of Defendant's negligence, Ms. Adams suffered personal

injuries that required medical attention.

                                                 ll.

          Defendant had actual aiid/or constructive knowledge of the dangerous condition on the

premises, which was superior to tlie knowledge Ms. Adanis had of said condition.

                                                 12.


          Defendant failed to adequately warn Ms. Adams of the dangerous conditioii on its

property.

                                                 13.


          At all times relative to this incident, Ms. Adains was exercising due care for her own

safetv.


                                     CLAIMS AGAINST DEFENDANT

                                                 14.


          Ms. Adams repeats, realleges, and reavers each aiid every allegation contained in

paragraphs one (1) through thirteen (13) by reference as if fully and completely set forth lierein



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        Case 1:21-cv-03232-JPB Document 1-1 Filed 08/09/21 Page 17 of 48
                                               2020CV02308




verbatini.

                                                    15.

         Defendant was negligent for failing to keep its premises safe in violation of O.C.G.A. §

51-3-1, by aniong otlier things, maintaining the premises in an unsafe mamier and failing to

remove dangers and objects on its preniises.

                                                    16.

         Defendant was negligent for failing to adequately warn of the dangerous condition on its

premises in violation of O.C.G.A. §51-3-1.

                                                    17.

         Defendant's negligence was the proximate cause of Ms. Adams' injuries.

                                                     :

         As a direct and proximate result of Defendant's negligence, Ms. Adanis sustained severe

injuries tliat required extensive medical treatment.

                                                   19.

         As a direct and proximate result of Defendant's negligence, Ms. Adams endured physical,

mental, and emotional pain and suffering due to the injuries she sustained in the fall.

                                                   20.

         As a direct and proximate result of Defendant's negligence, Ms. Adams has, to date,

incurred special damages in the form of inedical expenses totaling approximately $9,395.52 due

to the injuries slie sustained in the slip and fall incident.


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        Case 1:21-cv-03232-JPB Document 1-1 Filed 08/09/21 Page 18 of 48


                                                   21.

          Ms. Adams is entitled to recover from Defendant as special dainages compensation for

her niedical expenses and lost wages to the extent permitted by law and in an amount to be

proven at trial.


                                                   22.

          Ms. Adanis is entitled to recover for past, present, and future pain and suffering, both

physical and mental. Plaintiff also seeks general damages due to Defendant's negligence.


                                                   23.

          Defendant's actions in this matter constitute bad faitli, stubborn litigiousness, or

unreasonable and unnecessary delay so as to entitle Ms. Adanis to reasonable and necessary

attorney fees in an amount to be proven at trial pursuatit to O.C.G.A.§ 13-6-11.


                                                   24.

          Defendant's actions, inactions, and conduct in this matter, including, but not limited to,

having notice that its habitual practice of leaving slippery substances on the tloor and failing to

keep and niaintain their premises in a safe condition created a particular condition, whicli it knew

to be hazardous to invitees and which it knew had actually injured invitees in the past, show, by

clear and convincing evidence, willful niisconduct, malice, fraud, wantonness, oppression, or

that entire want of care which wotlld raise the presumption of conscious indifference to

consequences and suppoi-t an award of punitive damages under O.C.G.A. § 51-1.2-5.1(b).


          WHEREFORE, Ms. Adams prays for the following relief:

          (a)        that summons issue and Defendant be served as required by law;



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        Case 1:21-cv-03232-JPB Document 1-1 Filed 08/09/21 Page 19 of 48
                                                  2020CV02308




        (b)       that Ms. Adams receive a trial by jury;

        (c)       that Ms. Adams recover an aniount sufficient to compensate her for special

damages for lier medical expenses and lost wages in an arnount to be proven at trial and to the

extent perniitted by law;

         (d)      that Ms. Adams recover general damages for her past, present and future pain and

suffering in an amount to be determined by a fair and impartial jury;

         (e)      that Ms. Adams have alid recover expenses of this litigation, including reasonable

and necessary attorney fees in an amount to be pi-oven at trial pursuant to O.C.G.A.§ 13-6-11;

         (f)       that Ms. Adains have and recover punitive damages in an aniount to be proven at

trial pursuant to O.C.G.A. § 51-12-5.1(b);

         (g}       that all costs of this proceeding be assessed against Defendant; and

         (g)       that 1VIs. Adams receive such further relief as this Court deems just and proper.

         This 27th day of October, 2020.

                                                             LAW OFFICES OF EVAN R.
                                                             MERMELSTEIN, LLC

                                                             sl Evan R. Mernaelstein

                                                             EVAN R. MERMELSTEIN
                                                             Georgia Bar No. 502567
                                                             Attorney for Plaintiff

 5665 Atlanta 1-ligliway, Suite 103-302
 Alpharetta, Georgia 30004
 (678) 697-957s
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                                     [Signatures continued on following page]


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        Case 1:21-cv-03232-JPB Document 1-1 Filed 08/09/21 Page 20 of 48
                                      2020CV02308




                                                JOEL M. BASKIN, P.C.

                                                s/ Joel M. Baskin

                                                JOEL M. BASKIN (bv Evan R. Alermelstein tivith
                                                                       express permissia7)
                                                Georgia Bar No. 041055
                                                Attorney for Plaintiff
2791 Main Street
East Point, GA 30344
Email: ybaskisl(~t.~,joelbaskin.com
Phone: (404) 765-0031.
Fax: (404) 765-0519




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                                   2020CV02308




                                                                                                          Tiki Brown
                                                                                                 Clerk of State Court
                           IN THE STATE COURT OF CLAYTON COUNTY                              Ciayton C WacfiielcSegrs
                                      STATE OF GEORGIA

JEANNETTE ADAlVIS,                                 §
                                                   §
         Plaintiff,                                §          CIVIL ACTION

vs,                                                ~
                                                   §          FILE NO.:2020CV02308
                                                   §
FAMILY DOLLAR STORES OF GEORGIA, §
INC.,                            ti
                                                   ~
         Defendant.                                §

   PLAINTIFF'S FIRST REQUEST FOR ADIVIISSIONS, FIRST INTERROGATORIES
            AND REQUEST FOR I'RODUCTION OF DOCUMENTS TO
                            FAIVIILY DOLLAR STORES OF GEORGIA, INC.

          Plaintifi; JEANNETTE ADAMS (liereinafter "Ms. Adams'"), pursuant to O.C.G.A. §§ 9-

11-33 and 9-I1-34, submits to Defendant FAMILY DOLLAR STORES OF GEORGIA, INC.

(hereinaiter referred to "you" or "your") for response witliin forty-tive (45) days after service

hereof, in the form provided by law, the following Requests for Admissions, First Contiiiuing

I.nterrogatories and Request for Production of Documents.

          You are required, when answering these interrogatories, to fiirnish all information that is

available to you, your attorneys or agents, and anyone else acting on your behalf. If the complete

answer to an interrogatory is not k.nown to you, you shall so state and answer the iliterrogatory to

the fullest extent possible.

          These interrogatories are deemed to be continuing and you are required to provide, by

way of supplementaiy answers to these interrogatorics, such additional information as may be

obtained hereaiter by you, your attorneys or agents, or anyone else acting on your belialf which

inforniation will augment or niodify any answer given to the attached interrogatories. All sucli

supplemental answers must be filed and served upon the counsel of record for the above-named




 (Firm/9009/00109/00025950_r)pC.l }
              Case 1:21-cv-03232-JPB Document 1-1 Filed 08/09/21 Page 22 of 48


    Ms. Palmer within a reasonable f ime after discovery or receipt of such additionaI inforrnation,

    but in no event later than the time of the trial.

               The documents requested to be produced for inspection and copying are to be produced at

    Law Offices of Evan R. Mermelstein, LLC, 5665 Atlanta Highway, Suite 103-302,

    Alpharetta, GA 30004, within forty-five (45) days following recei.pt of tlus request unless the

    45t1i day falls on a holiday or weekend, in which event the production will take place on the

    Monday following the 45th day; or in the event the time for response is shortened by court order,

    then the shorter time frame shall be applicable. In lieu of this, you may attach copies thereof to

    your answers to these interrogatories.

               You are also required, pursuant to the Civil Practice Act, to produce at trial the materials

    and documents requested herein.

,              The folloNving def nitions and icistructions are applicable to each interrogatory unless       I

    negated by the context:

               As used herein, the term "you"— or "yours"— refers to you, your agents, representatives,

    employees and attorneys and any predecessor or successor corporations.

               As used herein, the term "documents" means and. includes all writings of any kind,

    including both the originals of such writings atid all non-identical copies (whether different from

    the originals by reason of any notation made on such copies or otlierwise), including, but not

    limited to, correspondence, memoranda, notes, diaries, notebooks, ledgers, letters, telegrams,

    niinutes, contracts, offers, reports, studies, surveys, checks, statements, receipts, returns,

    summaries, pamphlets, books, prospectuses, records of atiy sort of conversations, telephone calls,

    meetings or other communications, bulletins, computer printouts, teletypes, telecopies, invoices,

    worksheets, grapliic or auraI records for representations of any kind (including, but not limited




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to, photograplis, negatives, undeveloped esposes of photograpluc Flm, charts, grafts, microfiche,

microfilm, videotape, recordings, and >notion pictures) and electronic or mechanical records or

representations of any kind (including, but not limited to, tapes, cassettes, disks, and records).

         As used lierein, the term "identily" means:

                    (a) When used with respect to a natural person, to state that person's fiill name,

business and residential addresses and telephone nunibers, employer, and job title or profession;

                    (b) When used with respect to a corporation, govet7imentagency, or their business

or governmental entity, to state the full name and address of said entity:

                    (c) When used with respect to a doc«ment, to describe briefly the nature of said

document and to state the date it was prepared, the identity of the person who prepared it, the

identity of the sender and recipient (if applicable) and the identity of the person or persons who

now liave possession, custody, or control of said docunaent; and

                    (d) When used with respect to a communication to state the date of such

communication, the ntannier in whicli it was accomplished (i.e., wliether written or oral, and if

oral, whether face-to-face or by telephone), to identify all persons who were parties to such

communication or present when it occurred, to state the substance of such communication and to

identify all docuinents wlhich evidence the substance of such communication.

                                 PLAINTIFF'S FIRST INTERROGATORIES

                                       INTERROGTORY NO. l

          Please identify all witnesses known to Deferidant who saw or claim they saw, all or any

part of the occurrence coniplained of in this action.




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                                       INTEIaROGATORY NO. 2,

         Please identify all witnesses lcnown to Defendant who arrived at the scene of the

occurrence eomplained of in this action iinmediately or shortly after its occurrence.

                                       INTERROGATORY NO. 3

          Please identify all persons who have given written or recorded statements covering the

facts and/or circumstances of the incident which is the subject matter of this litigation,

identifying the sanie with sufficient pai-ticularity to satisfy a Request for 1'roduction of

Documents.

                                       INTERROGATORY NO. 4

          Identify any photographs, diagrams, video or other pictorial representations conceming

the events and happenings allcged in Plaintiffs Complaint.

                                       INTERROGATORY NO. 5

          Identify each person (whether your employee or not), wh.o, by virtue of his experience,

education or training, is an expert or is believed by you to be qualified as an expert, andlor who

has been retained by you or on your behalf to make an investigation or study of the incident

under investigation.

                                       INTERROGATORY NO. 6

          With particularity sufficient to satisfy O.C.G.A. §9-11-26(b)(4), please identify all

persons (whetlier your employees or not) whom yoti expect to call or may call as an expert.

witness upon thc trial of this niatter.

                                       INTERROGATORY NO. 7

           With particularity sufficient to satisfy O.C.G.A. §9-1 1-26(b)(2), please identify any

policy or policies of liability insurance whicli would or might enure to the benefit of Plaintiff




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here by providing for payment of a part of, or all of any judgment rendered in favor of Plaintiff

against Defendant or against any other person, firm oi• corporation who is or may be liable to

Plaintiff by reason of the incident described in the Complaint.

                                      INTERROGATORY NO. 8

         Please identify' by author, date and specific act(s), event(s), condition(s), opinion(s)

and/or diagnoses contained witliin any statement(s), memorandum(s), report(s), record(s), and/or

data compilation(s) that you intend to use at trial under O.C.G.A. 24-8-803(6) and/or O.C.G.A.

24-9-902(11). NOTE: General reference to enclosed statement, memorandum, report, record, or

data compilation will not be considered an adequate response liereunder.

                                      INTERROGATORY NO. 9

         To your information, kiiowledge or belief, has there been any surveillance or taking of

pliotographs of any party? If so, identify all persons who now liave or have liad custody and/or

control of any records, tapes, films or other recordings of such surveillance, aiid identify every

record, tape, filni or otlier recording with sufficient particularity to satisfy a Request for

Production of Documents.

                                      INTERROGATORI' NO. 10

         If you contend that Plaintiff has brouglht action against the wrong entity due to a

misnomer, please state the complete name of the con-ect defendant in this action.

                                      INTERROGATORY NO. 11

         Identify any person employed by Defendant who:

                    (a) Was working at the Defendant's location as identified in the Complaint wliere

Plaintiff fell on the date of Plaintiff s fall;




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                                (b) Worked at the above referenced location any time after Plaiiitiff s fall, through

            six (G) months af-ter the date of Plaintiff s fall.

                                                   I1eTTERROGATORY NO. 12

                      Identify all persons who are/were responsible for inspecting, cleaning or in any way

            monitoring the floors of the subject location during the time period twelve (12) months prior to

            Plaintiffs fall through the date of these intei-rogatories. For each person identified give tlieir full.

            nanie, address, telephone number and respective hiring aiid termination dates.

                                                   INTERROGATORY NO. 13

                      Identify any and all persons known to Defendant who slipped and fell in Def:endant's

            referenced store for the two-year period preceding Plaintiffs fall and the two-year period

            following Plaintiff s fall. For each incident identified please state the following:

                      (a) Tlie exact location in the store wliere the individual fell;

                      (b) The cause which said individual aIleges was responsible for the fall;

                      (c) The narne, address, liome teleplione nunibers, present place of employment, work

            telephone numbers, job titles, or capacities and present wliereabouts of any and all persons

            having knowledge regarding said fall. Include specifically any legal representative of any person

            allegedly to have fallen as described above.

                                                   INTERROGATORY NO. 14

                      Please state whether there existed, prior to the incident, whicli is the subject of Plaintiff s

            Complaint, any procedure or program for the regular inspeetion of the subject premises, which

            such procedtire or program was designed to identify and/or discover potential liaz..ards to the

            users thereof. If so:




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        (a) Provide a general desci-iption of each such procedure or program, ineluding the

identity of each person charged with the responsibility for implementing and conducting each

sucli procedure or program;

        (b) State the regularity with which each such procedure or program was to be

implemented or conducted, if applicable;

        (c) State whether the procedure or progratn had bee►i carried out prior to the date of the

subject incident; ajid

        (d) Identify all documents relating to each such procedtire or program and their findings.

                                   INTERROGATORY NO. 15

        IdentiCy every document, report or mernoranda including, specifically any "incident or

accident report" relating to the subject store or of the subject incident or any of the injuries

allegedly arising theretrom made to or reported to any eiitity including atiy insttrance company or

any public official or agency.

                                   INTERROGATORY NO. 16

         Identify eacli person, corporation, frm, association or other entity (including insurance

adjusters) that has conducted an investigation to determine any of the facts pertaining to any of

the issues in tllis case; describe the nature of each such investigation; and state wliich of such

investigators, if any, are in your regular employ.

                                   INTERROGATORY NO. 17

         Do you contend that the injuries complaiiied of in this case were caused by the

negligence of any party other than yourself or your agents and servants? If your answer is yes,

please identify:

         (a) The party wllom. you contend was guilty of such negligence;




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         (b) Every act of ordinary negligence which you claim was conunitted by such party or

his agents and servaiits and which you contend proximately caused or contributed to the injuries

complained of in this case;

         (c) Every act of gross negligence which you claim was committed by such party or his

agents and servants aiid whicli you contend proximately causcd or contributed to the injuries

complained of in this case;

          (d) Every act of slight negligence which you claim was coniniitted by such party or his

agents and servants atid which you contend proximately caused or contributed to the injuries

coniplained of in this case;

         (e) Every act of negligence per se which you claim was cominitted by sucli party or his

agents and servants arid which you contend proximately caused or contributed to the injuries

coniplaiiied of in this case (include in your answer a citation to the statute, ordinance, rule or

regulation which you contend established the controlling standard. of conduct);

          (t) Each and every fact and reason upon wliich you base your contentions concerning acts

of negligence committed by sucli pai-ty; and

          (g) Each and every person who has lcnowledge or infonnation concerning each such fact.

                                       INTERROGATORY NO. 18

          Please state, with respect to the preniises where Plaintiff was injured, the following:

          (a) Whetlier any additions or changes in design or dimension were made to the store from.

the date of the original construction thereof to the date of these interrogatories, and if so, the

dates and nature of any such changes;

          (b) The identity of the person or entity who niade any subsequent changes; and

          (c) The identity of the person or entity who designed any subsequent changes.




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                                        INTERROGATORY NO. 1.9

          Please state whether you, or anyone acting on your behalf, had any knowledge or

information, of any nature whatsoever, that any condition existed at the subject premises, which

could cause or contribute to the occurrence alleged in Plaintiffs Complaint. If so:

          (a) State the date you acquired such knowledge and/or information;

          (b) State what knowledge and/or infoi-mation you had;

          (c) Identify the person or persons wlio made such knowledge and/or information kno«m

to you;

          (d) State wliether any remedial and/or corrective action was taken based upon such

knowledge;

          (e) Identify the persoti who took. any such remedial and/or corrective action, and state the

date tliereof: and

          (f) Identify any documents relating to such condition and/or corrective action.

                                        INTERROGATORY NO. 20

          Please identify any inherent aspect of the subject premises or the business conducted

thereon whicli you believe posed a risk of physical injury to persons upon the premises. As to

each such fact or circumstance identified:

          (a) State when you were apprised of sucli inherent risk of danger; and

          (b) Identify all documents relating to such fact or circumstance.

                                        INTERROGATORY NO. 21

           Identify each and every document, tangible object or otlier item of real, docunientary or

demonstrative evidence which contains, or niay contain, material or information which is, which




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may be, or which you contend is, relevant to any of the issues involved in this case, and identify

the person presently having possession, custody or control of each item listed.

                                         INTERROGATORY NO. 22

          Identify every person who supplied you with iniorination, of whatever nature or

description, used by you in answering these interrogatories.

                                         INTERROGATORY NO. 23

          Please state whether, in compiling your answers to these interrogatories, you have made a

reasonable and diligent eifort to identify and provide not only sucli facts as are within your

personal kiiowledge, but such facts as are also reasonably available to you and/or any person

acting on your belialf.

                                         INTERItOGATORY NO. 24

           Please identify your ownership interest, management interest, leasehold interest, or any

other interest you have in the premises that is the subject of this action.

                                         INTERROGATORY NO. 25

           Please set forth with specificity the factual and legal basis for each defense raised in yotir

answer.

                                         INTERROGATORY NO. 26

           Identify any records, menioranda or other documents, including, but not limited to, sweep

logs", "maintenance logs", or any document containing information as to whom was responsible

for ensuring that the floors of the subject premises were clear of debris or foreign substances for

the time period beginning (1 )one year before the subject incident through tlie date of these

interrogatories. For every document identified, attach a copy to your responses.




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                                              INTERROGATORY NO. 27

         Please set forth with specificity the factual and legal basis for each Request for

Admission that you deny.

           PLAINTIFF'S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS

                                           REQUEST FOR PRODUCTION NO.1

          Lach and every document, tangible object, or other item of real, demonstrative or

documentary evidence wlucli contains, or may contain, material or inl:ormation which is, or may

be, relevant to aily of the issues involved in this action.

                                           REQUEST FOR PRODUCTION NO. 2

          Any and all photographs, videotapes, sketches, computer printouts, drawings, maps,

sketches or other visually descriptive materials of the scene of the incident or any of the events

alleged in Plaintifi's coniplaint.

                                           REOUEST FOR PRODUCTION NO. 3

          Any surveillance photograplis, movies or videotapes made of Plaintiff, whetlier said

pliotographs, movies or videotapes were tnade the day of the incident that is the subject niatter of

this action or at wiy time subsequent to the incident.

                                           REOUEST FOR PRODUCTION NO. 4

           Any and all documents that evidence, concern or refer to any written statements which

were made by any pai-ty or witness or any other individual, whetlier a written. or recorded

statement or a memorandum or notation of an oral statement, and whether the original or a copy,

and whicii is in tlie possession, custody or control of the defendant, its agents, employees,

insurers or attorneys and including any written report prepared after the incident by management.

This request is made pursuant to O.C.G.A. §9-111-26(b)(3).




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                                        REQUEST FOR PRODUCTION NO. 5

         Each and every insurance agreement under which any person carrying on an insurance

business may be liable to you to satisfy part or all of any judgment which niay be entered in tlus

action or to indemnify or reimburse you for any payments made to satisfy sucli judgnient.

                                        REQUEST FOR PRODUCTION NO. 6

          Eacli aiid every document that evidences, concerns or relates to a policy, rule, regulation,

directive, procedure, etc. which was applicable on the date of tlie occurrence at Defendant's store

that is the subject of this action, regarding the inspection, examination, maintenance and cleaning

of the floor of said store at any time, including, but not limited to, checking for spills or foreign

debris on the floor.

                                        REQUEST FOR PRODUCTION NO. 7

          If defendant contends that some other person or legal entity is, in whole or in part, liable

to plaintiff or defendant in this matter, please provide plaintiff with ftill and complete copies of

any and all docunients that evidence, concern or relate to any docurnent, including but not

limited to letters, niemoranda, written pl•ocedures and contracts, between defendants and such

otlier person or legal entity purporting to make such other person or legal entity responsible for

the hazardous condition that caused Plaintift s fall at Defendant's store on the date of the

occurrence that is the subject of this action..

                                        REQUEST FOR PRODUCTION NO. 8

          Any and all documents that evidence, reference or relate to any and all incident reports,

inspection reports, employee reports, employee statements, letters, memoranda, handwritten

notes or any other document of any employee, agent or personnel of defendants referencing the

slip and fall of Plaititiff at Defendant's store.




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                                        REQUEST FOR PRODUCTION NO. 9

            Any and a11 documents that evidence, reference or relate to any document prepared by

    any employees or agent of defendaiits whatsoever concerning slip and fall type incidents,

    accidents or injuries that have taken place at Defendant's store that is at issue in this lawsuit from

    one year prior to the date of Plaintiff s injury to the date of this Request.

                                        REQUEST FOR PRODUCTION NO. 10

            Any and all documents that evidence, conceni or relate to the names of eniployees or

    managers for Defendant's store at issue in this lawsuit for the three (3) months prior to Plaintift`s

    fall througli (3) months after Plaintiffs fall, including, but not limited to, work schedules, jolb

    descriptions and payroll records.

'                                       REQUEST FOR PRODUCTION NO. 11

            Any and all documents that evidence, refercnce or relate to any maintenance, cleaning,

    repaii• or inspections of any portion of Defendant's store that is at issue, including floors, during

    the period beginning one (1) year prior to Plaintiff s fall through the date of tlus Request,

    including, but not liniited to, sweep logs, log books, computer records, contracts, inspection

    sheets, inspection forms, or any other document whatsoever.

                                        REQUEST FOR PRODUCTION NO. 12

             Any aiid a11 docurnents that evidence, relate to or concern eniployee or management

    conduct, rules, procedures, regulations or directives, including, but not liniited to, eniployee

    manuals, employee handbooks, menioranda, bulletins and any other forni of written or oral

    corrimunication to employees and managers at Defendant's store that is at issue, that were in

    effect during the period beginning one (1) year prior to Plaintiffs fall through the date of this

    Request.




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                                       REQUEST FOR PRODUCTION NO. 13

         Any and all e-mails sent or received from Defendant's store that is at issue on and after

the date of Plaintiff s fall and having anything whatsoever to do with the incident at issue, not

including correspondence with legal counsel for Defendant.

                                       REQUEST FOR PRODUCTION NO. 14

          Any aiid all documents used to answer or referenced by all Interrogatories served

herewith.

                                       REQUEST FOR PRODUCTION NO. 15

          Any materials you rely upon in the defense of this case.

                                       REQUEST FOR PRODUCTION NO. 16

          Any materials you contend are relevant to either Plaiiitiff s Complaint or your Answer.

                                       REQt1EST FOR PRODUCTION NO. 16

          Any and ali reports, whether written or otherwise recorded, made by any expert or

experts whoni the party expects to call as an expert at trial - O.C.G.A. § 9-1 I-26(b)(4)(A) - who

has been retained or otherwise employed by Defendant in anticipation of litigation or preparation

for trial this action. Note: These reports, notes and other materials are discoverable. See Watson

i-. Elhert Coujaty 1-fosprtal, 125 Ga.App. 112, 1.14, (197 1).

                                       IZEQUEST FOR PRODUCTION NO. 17

          Please produce any and all statement(s), memorandum(s), report(s), record(s), or data

compilation(s) identified in your response to Interrogatory No. S.




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                      PLAINTIFF'S FIRST REQUEST FOR ADMISSIONS

                                       REQUEST FOR ADMISSION NO. 1

       Admit that you have been correctly named in the present cause of action insofar as the

legal designation of names is concemed.

                                       REQUEST FOR. ADMISSION NO. 2

        Admit that you have been properly served as a party defendant.

                                       REQUEST FOR ADMISSION NO. 3

        Admit that service of process is sufficient with regard to you in this case.

                                       REQUEST FOR ADMISSION NO. 4

        Admit that the State Court of Clayton County has jurisdiction over the subject matter of

this case.

                                       REQUEST FOR AllM1.SSION NO. 5

        Admit that the State Court of Clayton County has personal jurisdiction over you as a

party defendant in this case.

                                       REQUEST FOR ADMISSION NO. G

         Admit that venue is proper in the State Court of Clayton County.

                                       REQUEST FOR ADMISSION NO. 7

         Admit that Plaintiff states a claim upon whicli relief caii be granted.

                                       REQUEST FOR ADMISSION NO. 8

         Admit that Plaintiffhas not failed to join a party under O.C.G.A. section 9-1 1-19.

                                        REQUEST FOR ADMISSION NO. 9

         Admit that on or about February 5, 2019, you were the owner of the Family Dollar store

 located at 798 Morrow Road, Forest Park, Clayton County, Georgia 30297.




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                                      REQUEST FOR ADMISSION NO.10
                                                                                            of the
        Admit that on or about February 5, 2019, hair was present on the floor in aii aisle

Family Dollar store at issue in tlus litigation.

                                      REQUEST FOR ADMISSION NO. 11

         Adnut that the presence of the hair on the floor in an aisle of the Fanvly Dollar store at
                                                                                dangerous
issue in this litigation, on or about Februaly 5, 2019, created an unreasonably

condition.

                                      REQUEST FOR ADMISSION NO. 12

         Admit that on or about February 5, 2019, Plaintiff slipped and fell due to stepping in/on

the hair present on the floor in an aisle of the Family Dollar store at issue in this litigation.

                                      REQUEST FOR ADMISSION NO. 13

         Admit that on or about February 5, 2019, you failed to adequately warn guests of the

dangerous condition caused by the presence of the hair on the floor of' an aisle of the Facnily

 Dollar store at issue in this litigation.

                                      REQUEST FOR ADMISSION N0.14

          Admit that Plaintifl's fall on or about February 5, 2019, at the Family Dollar store at

 issue in tliis litigation, was tlie proximate cause of her injuries.

                                       REQUEST FOR ADMISSION NO. 15

          Admit that Plaintiff was exercising ordinary care for her own safety at the time of her slip

 and fall.

                                       REQUEST FOR ADMISSION NO. 16

                                                                                           hair
           Admit that you, or your employees, were aware, or should have been aware of the

  present on the floor in an aisle of the Family Dollar store at issue in this litigation.




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                                            REQUEST FOR ADMISSION N0.17

                 Admit that on or about February 5, 2019, prior to Plaintift's slip and fall, the employees at
                                                                                                an aisle of
       the Family Dollar store in question failed to clean up the hair present on tlie floor in

       the Family Dollar store that proximately caused the injuries to Plaintiff.

                                            REQUEST FOR ADIVIISSION NO. 18

                 Admit that you are in possession of video depicting Plaintiff's fall, on or about February

       5, 2019, at the Faniily Dollar store in duestion.

                                            REQUEST FOR ADNIISSION NO. 19

                 Ms. Adams' lawsuit is not barred by the Statute of Limitations.

                                            ItEQUEST FOR ADMISSION NO. 20

                 Before this collision, you caused an incident where someone fell on a foreign substance

       on the floor of the store.

                                            REQUEST FOR ADMISSION NO. 21

                  After this incident, you caused an incident where someone fell on a foreign. substance on

        the floor of the store.

                                            REQUEST FOR ADMISSION NO. 22

                  You caused this incident.

                                             REQUEST FOR ADMISSION NO. 23

                  Ivls. Adams did nothing to cause this incident.

                                             REQUEST FOR ADMISSION NO. 24
                                                                                                         the
                  At this time of this incident, you knew it was not safe to leave foreign substances on

        floor.




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                                          REQUEST FOR ADMISSION NO. 25

             At this time of this incident, you knew it was not safe to fail to keep and maintain your

    preniises in a safe condition.

                                          REQUEST FOR ADMISSION NO. 26

             You are solely responsible for causing this incident.

                                          REQUEST FOR AllM1SSION NO. 27

             Ms. Adams lias not failed to join a party to this lawsuit.

                                          REQUEST FOR ADMISSIOI!' NO. 28

             Ms. Adams was pliysically injured as a direct and proximatc result of this collision.

                                          REQUEST FOR ADMISSION NO. 29

             At the time of this incident, you failed to use ordinary dilioence.

                                          REQUEST FOR ADMISSION NO. 30

             Your actions, inactions, and/or conduct at the time of this incident were the direct and

    proaimate cause of Ms. Adanis' injuries and niedical treatment as statcd i.n the Complaint.

                                          REQUI'sS'f FOR ADMISSION NO. 31

+            "I'here is no issue witli service of the Sunimons and Coniplaint on you.
~
i                                         REQUEST FOR ADMISSION NO. 32
~
f            Tliis case is not being defended under a reservation of rights.




                                         [Signatures contained on following page]



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          This 27th day of October, 2020.

                                                     LAW OFFICES OF EVAN R.
                                                     MERMELSTEIN, LLC

                                                     s/ Evan R. Mermelstein

                                                     EVAN kt. MERMELSTEIN
                                                     Georgia Bar No. 502567
                                                     Attornev for PIaintiff

5665 Atl.anta Ifighway, Suite 103-302
Alpharetta, Georgia 30004
(678) 697-9578
eytllla,itlei'111e1stelnla\V.Col11



                                                     JOEL M. I3ASKIN, P.C.

                                                     s/ Joel 11 13askin

                                                     JOEL M. BASKIN (by Gvars R. A-lerme fstern tiriib
                                                                              e_apres.r permission)
                                                     Georgia Bar No. 041055
                                                     Attorney for Plaintiff
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East Point, GA 30344
Email: 'ba
        ~ skiil%ri~joelbaskin.conl
Plione: (404) 765-0031
Fax: (404) 765-0519




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                                                                                                   Tiki Brown
                                                                                          Clerk of State Court
                       IN THE STATE COURT OF CLAYTON COUNTY                          Clayton County, Georgia
                                                                                                 Cheryl Dixon


                                    STATE OF GEORGIA

  JEANNETTE ADAMS,

       Plaintiff,                              Civil Action
                                               File No.:       2020CV02308

  v.

  FAMILY DOLLAR STORES OF
  GEORGIA, INC.,

       Defendant.

                    RULE 5.2 CERTIFICATE OF SERVING DISCOVERY

       COME NOW Family Dollar Stores of Georgia, LLC and certify that they have served

the following discovery on November 30, 2020:

       1.     Defendant Family Dollar Stores of Georgia, Inc.’s First Request for
              Production of Documents to Plaintiff Jeannette Adams; and

       2.     Defendant Family Dollar Stores of Georgia, Inc.’s First Interrogatories to
              Plaintiff Jeannette Adams.

by statutory electronic service pursuant to O.C.G.A. § 9-11-5(b) or by depositing a copy of

same in the United States Mail, postage prepaid, as follows:

                               Evan R. Mermelstein, Esq.
                          Law Offices of Evan Mermelstein, LLC
                                 5665 Atlanta Highway
                                      Suite 103-302
                                 Alpharetta, GA 30004
                              traci@mermelsteinlaw.com

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                                   Atlanta, GA 30339
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         This 30th day of November, 2020.



                                                       _/s/Kyle H. Timmons__________
                                                       Kyle H. Timmons
                                                       GA State Bar No. 776206
                                                       KTimmons@GM-LLP.com
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Certificate of Service for RULE 5.2 CERTIFICATE OF SERVING DISCOVERY
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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

 JEANNETTE ADAMS,
              Plaintiff,                           CIVIL ACTION NO.
       v.                                          1:20-CV-05116-JPB
 FAMILY DOLLAR STORES OF
 GEORGIA, INC.,
              Defendant.



        ORDER GRANTING PLAINTIFF’S MOTION TO REMAND

      This matter is before the Court on Jeannette Adams’s (“Plaintiff”) Motion to

Remand. [Doc. 8]. This Court finds as follows:

                                 BACKGROUND

      Plaintiff alleges that on February 5, 2019, while shopping at one of Family

Dollar’s (“Defendant”) stores, she tripped and fell on a foreign object located in

the store’s aisle. [Doc. 1-1, p. 4]. As a result, she claims to have suffered personal

injuries requiring medical attention and “physical, mental, and emotional pain and

suffering” arising from her injuries.” Id. at 6. On September 27, 2019, Plaintiff

sent Defendant a settlement demand letter for $50,000. [Doc. 1-3]. At that time,
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she had incurred $9,395.52 in medical expenses.1 Thereafter, Plaintiff’s attorney

informed Defendant that Plaintiff had undergone one knee surgery and had been

recommended for a second surgery. [Doc. 1-4]. Due to the approaching statute of

limitations, Plaintiff withdrew her demand and ended settlement negotiations. Id.

        On October 27, 2020, Plaintiff initiated suit in the State Court of Clayton

County, Georgia. [Doc. 1-1]. She seeks to recover special damages to compensate

for her medical expenses and lost wages and general damages for her past, present

and future pain and suffering. Id. at 6-7. Additionally, she seeks to recover

attorney’s fees pursuant to O.C.G.A § 13-6-11 and punitive damages pursuant to

O.C.G.A § 51-12-5.1(b). Id.

        On December 17, 2020, Defendant filed its Petition for Removal to this

Court on the basis of diversity jurisdiction, pursuant to 28 U.S.C. §§ 1332, 1367

and 1441 et seq. [Doc. 1]. In response, Plaintiff timely filed her Motion to

Remand, claiming that the amount in controversy had not been met. [Doc. 8].

                                          DISCUSSION

        Under 28 U.S.C. § 1441(a), any civil case filed in state court may be



1
  Plaintiff was initially treated for knee pain at Southern Regional Medical Center. She then sought
treatment at Whiplash Injury Center, where she complained of neck, back, knee, finger and hand pain.
[Doc. 1-3].



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removed to federal court by a defendant if the case could have originally been filed

in federal court. When a case is removed, the party seeking removal bears the

burden of establishing federal jurisdiction by a preponderance of the evidence at

the time the notice of removal is filed. Pretka v. Kolter City Plaza II, Inc., 608

F.3d 744, 752 (11th Cir. 2010); Leonard v. Enterprise Rent-A-Car, 279 F.3d 967,

972 (11th Cir. 2002). When a removing defendant claims diversity jurisdiction

under 28 U.S.C. § 1332, the defendant must show that there is: (1) complete

diversity of citizenship; and (2) an amount in controversy exceeding $75,000. 28

U.S.C. § 1332(a).

      In carrying this burden, “a removing defendant is not required to prove the

amount in controversy beyond all doubt or to banish all uncertainty about it.”

Pretka, 608 F.3d at 754. Rather, where a plaintiff has not pled a specific amount of

damages, the removing defendant may satisfy its burden by showing that it is

“facially apparent from the pleadings itself that the amount in controversy exceeds

the jurisdictional minimum,” or that there is “additional evidence demonstrating

that removal is proper.” Farley v. Variety Wholesalers, Inc., No. 5:13-CV-52

(CAR), 2013 WL 1748608, at *1 (M.D. Ga. Apr. 23, 2013) (quoting Roe v.

Michelin N. Am., Inc., 613 F.3d 1058, 1061 (11th Cir. 2010)).




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      Eleventh Circuit precedent permits district courts to use their judicial

experience and common sense when determining if the amount in controversy has

been satisfied. Roe, 613 F.3d at 1062. They may make “reasonable deductions,

reasonable inferences, or other reasonable extrapolations.” Id. However, a

defendant may not rely exclusively on “conjecture, speculation, or star gazing” to

establish the requisite amount in controversy. Pretka, 608 F.3d at 754. If the

amount is not “readily deducible” from the record, the court lacks jurisdiction, and

the case must be remanded. Id. Importantly, removal statutes are to be construed

narrowly, and “all uncertainties as to removal jurisdiction are to be resolved in

favor of remand.” Russell Corp. v. Am. Home Assurance Co., 264 F.3d 1040,

1050 (11th Cir. 2001).

      Here, neither party disputes the existence of complete diversity. Rather,

they dispute whether the requisite amount in controversy has been satisfied.

Defendant argues that Plaintiff’s pre-suit demand for $50,000, when combined

with her subsequently disclosed medical information, brings the amount above the

jurisdictional minimum. Although not determinative in itself, a pre-suit settlement

“counts for something.” Burns v. Windsor Ins. Co., 31 F.3d 1092, 1095 (11th Cir.

1994). However, the amount of weight to be given to a demand letter depends on

the circumstances. Jackson v. Select Portfolio Serv., 651 F. Supp. 2d 1279, 1281


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(S.D. Ala. 2009). Frequently, demand letters reflect puffing and posturing as

opposed to an accurate assessment of damages. Id. In such a case, the demand is

to be given little weight in measuring the preponderance of the evidence. Id.

      In support of its argument, Defendant cites Farley, 2013 WL 1748608, at *1

(finding a highly detailed and itemized settlement demand for $150,000 to be a

true and accurate assessment of damages for purposes of calculating the amount in

controversy). In the present case, however, Plaintiff’s pre-suit settlement demand

provides no indication as to why $50,000 is an accurate assessment of her

damages. To the contrary, Plaintiff’s letter only details the $9,395.52 in medical

expenses she incurred prior to sending the demand. Under these facts, the Court

cannot characterize the settlement demand as an honest assessment of damages and

therefore ascribes it little weight. Furthermore, even if the letter was highly

detailed and itemized, it only demands $50,000—an amount well below $75,000.

      Defendant also argues that Plaintiff’s requests for attorney’s fees and

punitive damages bring the amount in controversy within the jurisdictional

minimum. This Court finds Defendant’s argument unpersuasive. In order for the

Court to consider attorney’s fees in its calculation, the allegation of attorney’s fees

must be specific. Sammons v. Starbucks Corp., No. 1:09-CV-0358-WSD, 2009

WL 10700534, at *1 (N.D. Ga. Mar. 27, 2009). “Where the amount of attorney’s


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fees are left up to the discretion of a jury and where the defendant does not offer

any evidence from which a specific amount of attorney’s fees could be calculated,

the court should not consider attorney’s fees when calculating amount in

controversy.” Id.

      In the present case, Plaintiff seeks attorney’s fees pursuant to O.C.G.A. § 13-

6-11, which allows a jury to award damages if it finds that a defendant “has acted

in bad faith, has been stubbornly litigious, or has caused the plaintiff unnecessary

trouble and expense.” Because Plaintiff has not alleged the specific amount of

attorney’s fees she seeks to recover, and because the determination of whether to

award attorney’s fees is left to the discretion of the jury, the Court declines to

factor in the potential for any such award here.

      Likewise, punitive damages cannot be reasonably factored into this Court’s

calculation. In her Complaint, Plaintiff seeks punitive damages pursuant to

O.C.G.A. § 51-12-5.1(b). Under this section, however, punitive damages are only

awarded “in . . . tort actions in which it is proven by clear and convincing evidence

that the defendant’s actions showed willful misconduct, malice, fraud, wantonness,

or that entire want of care which would raise the presumption of conscious

indifference to consequences.” In this case, Plaintiff alleges that Defendant’s

actions constitute negligence, but does not allege any behavior listed in section 51-


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12-5.1(b). An award of punitive damages, therefore, does not seem applicable.

See Lewis v. Suttles Truck Leasing, 869 F. Supp. 947, 949 (S.D. Ga. 1994)

(“Negligence alone, even gross negligence, will not support an award of punitive

damages.”)

                                 CONCLUSION

      Given the above—and the presumption in favor of remand where federal

jurisdiction is not absolutely clear—this Court finds that Defendant has not met its

burden to show that the amount in controversy exceeds $75,000, and as such,

Plaintiff’s Motion to Remand is GRANTED. The case is REMANDED to the

State Court of Clayton County. The Clerk is DIRECTED to CLOSE this case.

      SO ORDERED this 9th day of July, 2021.




                                              ______________________
                                              J. P. BOULEE
                                              United States District Judge




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